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                                                                                          United States Bankruptcy Court
                                                                                              Southern District of Texas
                                IN THE UNITED STATES BANKRUPTCY COURT                            ENTERED
                                  FOR THE SOUTHERN DISTRICT OF TEXAS                         September 27, 2024
                                           HOUSTON DIVISION
                                                                                              Nathan Ochsner, Clerk

IN RE:                                                 §
                                                       §      CASE NO: 23-645
Professional Fee Matters Concerning the Jackson        §
Walker Law Firm                                        §

                                                 ORDER
                                          SETTING HEARING
                                          Regarding ECF No. 363

1. On Wednesday, October 8, 2024, at 4:00 p.m. (Central Standard Time) the Court will conduct an
   evidentiary hearing on the United States Trustee’s Subpoena to Ms. Elizabeth Miller to testify in this
   proceeding before the United States Bankruptcy Court, Bob Casey Federal Building, 515 Rusk Ave.
   Courtroom 8B, Houston, TX 77002.

2. Pursuant to the Guide to Judiciary Policy, Volume 20, Chapter 8, § 850, the United States Trustee must be
   prepared to demonstrate why the following “Topics for Deposition” are permittable topics under Section 850:
   Topics 1, and 2.1

3. Pursuant to Bankruptcy General Order 2021-05 and Bankruptcy Local Rule 9017-1, parties may either appear
   electronically or in person unless otherwise ordered by this Court.

4. To participate electronically, parties must follow the instructions set forth on Judge Rodriguez’s web page
   located    at:    https://www.txs.uscourts.gov/content/united-states-bankruptcy-judge-eduardo-v-rodriguez.
   Parties are additionally instructed to: (i) call in utilizing the dial-in-number for hearings before Judge
   Rodriguez at 832-917-1510, conference room number 999276 and (ii) log on to GoToMeeting for video
   appearances and witness testimony, utilizing conference code: judgerodriguez. Parties MUST HAVE TWO
   SEPARATE DEVICES to appear by video and telephonically. One device will be used to log on to
   GoToMeeting and the other will be used to call the telephonic conference line.

5. Parties must comply with Bankruptcy Local Rule 9013-2 and Judge Rodriguez’s Court Procedures Section
   VII(b) regarding the exchange and submission of electronic exhibits.

6. No later than Monday, September 30, 2024, the United States Trustee must serve a copy of this Order on
   Ms. Elizabeth Miller, Jackson Walker, LLP, Mr. David R. Jones, Ms. Elizabeth Freeman, Mr. Albert Alonzo,
   and all parties entitled to notice of the hearing and file a certificate of service with the Clerk of Court.



            SIGNED September 27, 2024


                                                           ________________________________
                                                                   Eduardo V. Rodriguez
                                                            Chief United States Bankruptcy Judge




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    ECF No. 363-1 at 3, ⁋⁋ 1 and 2.
